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United States District Court
Southern District Of Texas

AQ 91 (Rey. 02/09) Criminal Complaint - FILED

— a? 5
UNITED STATES DISTRICT COURT
for the David J. Bradley, Clerk
Southern District of Texas —

 

United States of America )
Jesse SOTO caseNo, M= LO 0a 3- mM
YOB: 1998 USC )
Defendant SEALED
CRIMINAL COMPLAINT |

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of. 12/31/2019 in the county of Hidalgo inthe _ Southern _ District of

Texas ,the defendant violated __Title 18 U.S.C.§ 924(a)(1)(A)
, an offense described as follows:

Whoever, knowingly makes any false statement or representation with respect to the information required to be kept in
the records of a federal firearms licensee.

 

This criminal complaint is based on these facts:

“SEE ATTACHMENT A

a Continued on the attached sheet.

/S/ Candace Garza

 

Complainant's signature

Candace Garza - ATF Special Agent
‘Printed name and title

Submitted by reliable electronic means, sworn to, attested
to telephonically per Fed.R.Crim.P.4.1, and probable casuse found on:
A 25
Date: . o1(26/2020e@ |! es rf

idge's signature
City and state: McAllen, TX JS ackef, United States Magistrate Judge
YY /

 

Printed name and title
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ATTACHMENT A

This affidavit is in support of a criminal complaint charging Jesse SOTO (hereinafter referred to
as “SOTO”) with violating Title 18 U.S.C. Section 924(a)(1)(A).

Further, your Affiant states as follows:

On or about January 10, 2020, your Affiant was referred a NICS Standard Denial case involving
SOTO after having been denied the purchase of a firearm from a Federal Firearms Licensee (FFL)
located in Edinburg, Texas, on December 31, 2019. Your Affiant discovered that SOTO was
denied the purchase of the firearm, namely one (1) Sun City Machinery/Savage, model 320, 12-
gauge shotgun due to SOTO being considered a prohibited person (convicted of a crime punishable
by a term exceeding one year) under Title 18 U.S.C. Section 922(g)(1).

A computerized criminal history check (CCH) and subsequent review of judgment and conviction
documents for SOTO revealed that SOTO was convicted of the following felonies on October 17,
2018: Possession of a Controlled Substance-Penalty Group 3 >=28G<200G (34 Degree Felony)
in the 275" District Court of Hidalgo County, Texas, in Case No. CR-3365-18-E, Possession of a
Controlled Substance-Penalty Group 1 >=4G<200G (24 Degree Felony) in the 275" District Court
of Hidalgo County, Texas, in Case No. CR-3365-18-E, Deadly Conduct Discharge firearm (3™4
Degree Felony) in the 275" District Court of Hidalgo County, Texas, in Case No. CR-2200-18-E.
SOTO was ordered to serve ten (10) years on community supervision for the aforementioned
felony convictions.

On January 24, 2020, your Affiant confirmed with Hidalgo County Community Supervision and
Corrections Department (HC-CSCD) that SOTO was currently on probation for the
aforementioned felony convictions. Additionally, HC-CSCD documents revealed that SOTO was
informed and subsequently signed a Civil Rights and the Federal Firearms Control Act document,
which detailed his inability to possess, ship, transport, or receive a firearm or ammunition while
under felony supervision.

A review of the ATF Form 4473 revealed that SOTO falsified the aforementioned form when he
checked “no” on question 11(c) which states the following: “Have you ever been convicted in any
court of a felony, or any other crime for which the judge could have imprisoned you for more than
one year, even if you received a shorter sentence including probation?”

Your Affiant knows that FFLs are required to keep the ATF Form 4473 (Firearms Transaction
Record) which is completed by the purchaser, which includes information regarding the name,
age, current residence of the purchaser, and the purchasers certification that he or she is not
prohibited from possessing firearms. Furthermore, the purchaser must certify that their answers
on ATF Form 4473 are true, correct and complete.

Moreover, the ATF Form 4473 also warns the buyer that making a false statement on the ATF
Form 4473 is a felony offense. Lastly, any false statement or representation made on ATF Form

4473, which is information required to be kept in the records of a federal firearms licensee, is a
violation of Title 18 U.S.C. Section 924(a)(1)(A).
 

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As a result, on or about December 31, 2019, SOTO knowingly made a false statement on ATF
Form 4473 when he indicated that he was not a convicted felon, when in fact he was, at the time
he certified that the information on the ATF Form 4473 was true and correct.
